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                                   STATEMENT OF FACTS

        Your affiant, Travis Taylor, is a Special Agent with the Federal Bureau of Investigation
assigned to the Albuquerque Division, Santa Fe RA. Currently, I am a tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       One of the individuals who entered the U.S. Capitol unlawfully on January 6, 2021, was
MATTHEW MARTIN (“MARTIN”), a resident of Santa Fe, New Mexico. Your affiant has
spoken to W-1, who has known MARTIN for years and currently is employed with MARTIN at a
defense contracting company that works with the federal government. According to W-1,
MARTIN, who holds a security clearance, had indicated he would be taking leave on January 6,
2021.
      Evidence obtained by your affiant shows that MARTIN went inside the U.S. Capitol
unlawfully on January 6, 2021.
       According to records obtained through a search warrant which was served on a cell
provider, on January 6, 2021, in and around the time of the incident, the cell phone associated with
MARTIN was identified as having utilized a cell site consistent with providing service to a
geographic area that includes the interior of the United States Capitol building.

        On or about January 20, 2021, MARTIN appeared at the Santa Fe RA with an attorney and
admitted to law enforcement that he was among the persons in the crowd that unlawfully entered
the U.S. Capitol on January 6, 2021. MARTIN reported that he decided to travel to Washington,
D.C. after reading then-President Donald Trump’s tweets regarding the election being stolen and
a protest on January 6, 2021, flying to D.C. on January 5, 2021, and attending the rallies on January
6, 2021, and then heading to the U.S. Capitol where he entered along with a crowd of other
individuals. According to MARTIN, Capitol guards opened the doors to the Rotunda and let them
in, though MARTIN did acknowledge seeing smashed glass. MARTIN stated that he realized
later that the protests were worse than he thought and that he returned home from D.C. on January
7, 2021.
        MARTIN provided receipts reflecting purchases made in Washington, D.C., including
airport parking from January 5 to January 7, 2021. MARTIN also provided photographs and videos
taken on January 6, 2021, with his cell phone.
       Those photos included “selfies” of MARTIN on the Mall near the U.S. Capitol. One photo
shows MARTIN wearing a hunter-pattern camouflage cap emblazoned with a gold “USA”
emblazoned across the top (Figure 1). While at the Santa Fe RA, MARTIN was wearing a leather
jacket with a gray hood, which he stated he wore to the riot. Your affiant observed it to be
consistent with the gray hood seen being worn by MARTIN in Figure 1. MARTIN is also depicted
wearing a face mask, which is red in color with white lettering that spells “TRUMP.” Based on
in-person observations of MARTIN, your affiant recognizes the person wearing a mask and hat in
Figure 4 as MARTIN. W-1 also confirmed that the below depicts MARTIN.




                                                 2
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                                                Figure 1
       One of the videos provided by MARTIN shows a police officer standing near a door to the
U.S. Capitol. The video also shows that a pane of glass on the door has been smashed. Still images
from that video are shown below (Figures 2 and 3).




                                                Figure 2




                                                3
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                                               Figure 3
       Another video was produced from MARTIN’s cell phone that recorded what your affiant
recognizes as the U.S. Capitol rotunda. One person depicted in the video appears to be wearing a
motorcycle helmet, and another appears to be grimacing. Still images from that video are included
below (Figures 4 and 5).




                                            Figure 4




                                            Figure 5

                                               4
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        CCTV footage from inside the U.S. Capitol on January 6, 2021, also shows MARTIN
inside the rotunda (Figures 6 and 7). As noted above, during an interview with law enforcement,
MARTIN indicated that he wore a camo hat that said “USA” on it, a red Trump mask, and a black
leather jacket with a gray hood to the riot, as seen in Figure 1; he also indicated he wore jeans and
was carrying a United States flag. This attire is seen in the CCTV footage as depicted in the below
figures.




                                             Figure 6




                                             Figure 7


                                                 5
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        In addition, the CCTV footage captures MARTIN using his cell phone to record the videos
described above. Specifically, CCTV footage appears to show MARTIN recording the individuals
depicted in Figure 5. In Figure 8 below, MARTIN is circled on the right side of the image, wearing
the “USA” hat and holding a cell phone as though recording the individuals circled in the center
of the image and also depicted in Figure 5.




                                             Figure 8

        Based on the foregoing, your affiant submits that there is probable cause to believe that
MARTIN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that MARTIN violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in



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that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Special Agent Travis Taylor
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of April 2021.
                                                                            2021.04.20
                                                                            18:45:02 -04'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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